Case 3:19-cv-00717-S-BK Document 39 Filed 09/14/20 Page1lofi PagelD 568

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION

WALTER YOUNG, §
§
PLAINTIFF, §
§

V. § CASE No. 19-CV-0717-S-BK
§
SELECT PORTFOLIO SERVICING, §
INC., U.S. BANK, N.A., AND TRANS §
AM SFE II, LLC, §
§
DEFENDANTS. §

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION OF
THE UNITED STATES MAGISTRATE JUDGE

The United States Magistrate Judge made findings, conclusions and a recommendation in
this case. Plaintiff filed objections, and the District Court has made a de novo review of those
portions of the proposed findings and recommendation to which objection was made. The
objections are overruled, and the Court ACCEPTS the Findings, Conclusions and

Recommendation of the United States Magistrate Judge. Accordingly, Plaintiff's case is

Mitsu —

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

DISMISSED WITH PREJUDICE.
SO ORDERED.

SIGNED September 14, 2020.
